
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on December 5,1978, 365 So.2d 413, affirming the order of the Circuit Court of Dade County, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed November 20, 1980, 390 So.2d 704, and mandate now lodged in this court, quashed this court’s judgment;
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on February 2, 1979 is withdrawn, the judgment of this court filed December 5, 1978 is vacated and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the order of the trial court appealed herein is reversed and the cause is remanded with directions to grant a new trial. Costs allowed shall be taxed in the trial court (Rule 3.15(b), Florida Appellate Rules).
